      Case 4:12-cr-00001 Document 31 Filed on 08/17/12 in TXSD Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-12-01
                                                  §
                                                  §
NATHANIEL CHILO                                   §
SAVANNAH WILLIAMS                                 §


                                                ORDER

       Defendant Williams filed an unopposed motion for continuance, (Docket Entry No. 30).

The government and the codefendant are unopposed. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the public and

the defendants in a speedy trial. The motion for continuance is GRANTED. The docket control

order is amended as follows:

       Motions are to be filed by:                     September 28, 2012
       Responses are to be filed by:                   October 12, 2012
       Pretrial conference is reset to:                October 22, 2012 at 8:45 a.m.
       Jury trial and selection are reset to:          October 29, 2012 at 9:00 a.m.

               SIGNED on August 17, 2012, at Houston, Texas.


                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
